          Case 3:22-cv-02442-SK Document 1-2 Filed 04/20/22 Page 1 of 4




Case Information

22-CIV-01176 | JUSTIN WALKER, ON BEHALF OF HIMSELF AND ALL OTHERS SIMILARLY SITUATED vs Meta
Platforms, Inc.

Case Number                         Court                           Judicial Officer
22-CIV-01176                        Civil Unlimited                 Swope, V. Raymond
File Date                           Case Type                       Case Status
03/17/2022                          Complex Civil Unlimited Class   Active
                                    Action




Party

Plaintiff                                                           Active Attorneys 
JUSTIN WALKER, ON BEHALF OF HIMSELF AND ALL OTHERS                  Lead Attorney
SIMILARLY SITUATED                                                  CARPENTER, TODD D
                                                                    Retained




Defendant
Meta Platforms, Inc.




Cause of Action


       File Date       Cause of Action    Type      Filed By                     Filed Against
        Case 3:22-cv-02442-SK Document 1-2 Filed 04/20/22 Page 2 of 4
     03/17/2022     Complaint               Action    JUSTIN WALKER, ON       Meta Platforms,
                                                      BEHALF OF HIMSELF AND   Inc.
                                                      ALL OTHERS SIMILARLY
                                                      SITUATED




Events and Hearings


 03/17/2022 New Filed Case


 03/17/2022 Civil Case Cover Sheet 


 Civil Case Cover Sheet


 03/17/2022 Certificate Re: Complex Case Designation 


 Certificate Re: Complex Case Designation


 03/17/2022 Summons Issued / Filed 


 Summons Issued / Filed


 03/17/2022 Complaint 


 Complaint


 03/17/2022 Notice of Assignment for All Purposes 


 Notice of Assignment for All Purposes


 03/17/2022 Cause Of Action 


   Action                    File Date
   Complaint                 03/17/2022



 03/30/2022 Proof of Service by PERSONAL SERVICE of 


 Proof of Service by PERSONAL SERVICE of SUMMONS; COMPLAINT; ETC...

   Comment
   SUMMONS; COMPLAINT; ETC...
         Case 3:22-cv-02442-SK Document 1-2 Filed 04/20/22 Page 3 of 4

  03/30/2022 Proof of Service by PERSONAL SERVICE of 


  Proof of Service by PERSONAL SERVICE of SUMMONS; COMPLAINT; ETC...

    Comment
    SUMMONS; COMPLAINT; ETC...


  04/06/2022 Case Management Order 


  Case Management Order #1

    Comment
    #1


  04/06/2022 Affidavit of Mailing 


  Affidavit of Mailing Case Management Order #1

    Comment
    Case Management Order #1


  08/12/2022 Case Management and Trial Setting Conference 


  Hearing Time
  3:00 PM




Financial

JUSTIN WALKER, ON BEHALF OF HIMSELF AND ALL OTHERS SIMILARLY SITUATED
     Total Financial Assessment                                                            $2,435.00
     Total Payments and Credits                                                            $1,435.00


 3/18/2022     Transaction                                                                $1,435.00
               Assessment

 3/18/2022     eFile Online Payment       Receipt # 2022-010586-        Walker, Justin   ($1,435.00)
                                          HOJ

 3/21/2022     Transaction                                                                $1,000.00
               Assessment
        Case 3:22-cv-02442-SK Document 1-2 Filed 04/20/22 Page 4 of 4




Documents


 Civil Case Cover Sheet

 Certificate Re: Complex Case Designation
 Summons Issued / Filed
 Complaint
 Notice of Assignment for All Purposes

 Proof of Service by PERSONAL SERVICE of SUMMONS; COMPLAINT; ETC...
 Proof of Service by PERSONAL SERVICE of SUMMONS; COMPLAINT; ETC...
 Affidavit of Mailing Case Management Order #1
 Case Management Order #1
